
COPE, J.
(concurring).
While the trial court was in error in saying that the appellant’s claim was not cognizable by a motion under Florida Rule of Criminal Procedure 3.800(a), see Carter v. State, 786 So.2d 1173 (Fla.2001), relief was properly denied because the offense of armed robbery is a first degree felony punishable by life imprisonment. See § 812.13(2)(a), Fla. Stat. (1993). Accordingly, habitualization was permissible. See Lamont v. State, 610 So.2d 435 (Fla.1992).*

 At the time of appellant's crimes, habitualization was not permissible for a life felony, but appellant is incorrect in saying that his offenses were life felonies.

